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Attorneys for Defendant

                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

JONATHAN CASTILLO,                                               Case No. 4:20-CV-126

        Plaintiff,
                                                                        ANSWER
v.

TRUST FINANCIAL, LLC, a foreign limited
company, DOES I-X. inclusive,

      Defendants.
______________________________________

       COMES NOW Trust Financial, LLC, by and through Larren K. Covert, Esq. of

Wilkerson & Wilkerson and answers the Complain of the Plaintiff as follows:

                                  AFFIRMATIVE DEFENSES

       I.      Defendant reserves all defenses in the F.R.C.P. 12 and I.R.C.P. 12, including but

not limited to lack of subject matter jurisdiction, insufficient service of process and failure to

state a claim upon which relief can be granted.

       II.     Plaintiff’s claims barred by the doctrine of contributory and/or comparative

negligence.

       III.    Plaintiff’s claims are barred by the doctrine of the assumption of risk.

       IV.     Plaintiff’s claims are barred by the Plaintiff’s own conduct.

       V.      Plaintiff’s claims are barred by the doctrine of unclean hands.


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     VI.      Plaintiff’s claims are barred by an intervening cause.

     VII.     Plaintiff’s claims are barred by Plaintiff’s failure to mitigate damages.

     VIII.    Plaintiff’s claims are barred by a lack of casual relationship.

     IX.      Plaintiff’s claims are barred by the doctrine of good faith.

                                    SPECIFIC DEFENSES

  1. A to paragraph 1, Defendant ADMITS the information.

  2. As to paragraph 2, Defendant ADMITS the information.

  3. As to paragraph 3, Defendant is without sufficient knowledge to admit or deny the

     information as presented, and therefore the information is DENIED.

  4. As to paragraph 4, Defendant ADMITS this action alleges an action under the FDCPA,

     but DENIES that any such allegation is proper, has a factual basis, or is proper before this

     Court.

  5. As to paragraph 5, Defendant Denies this information.

  6. As to paragraph 6, Defendant states that if jurisdiction is proper, the venue is proper.

  7. As to paragraph 7, Defendant DENIES the information.

  8. As to paragraph 8, Defendant DENIES the information.

  9. As to paragraph 9, Defendant DENIES the information.

  10. As to paragraph 10, Defendant DENIES the information.

  11. As to paragraph 11, Defendant DENIES the information.

  12. As to paragraph 12, Defendant DENIES the information.

  13. As to paragraph 13, Defendant DENIES the information.

  14. As to paragraph 14, Defendant DENIES the information.

  15. As to paragraph 15, Defendant DENIES the information.




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  16. As to paragraph 16, Defendant is without sufficient knowledge to admit or deny the

     information as presented, and therefore the information is DENIED.

  17. As to paragraph 17, Defendant states that does not have knowledge of Apple Athletics’

     actions beyond the billing documents, and the billing documents speak for themselves.

     As to any additional or implied information in paragraph 17, Defendant DENIES any

     such information.

  18. As to paragraph 18, Defendant states that does not have knowledge of Apple Athletics’

     actions beyond the billing documents, and the billing documents speak for themselves.

     As to any additional or implied information in paragraph 18, Defendant DENIES any

     such information.

  19. As to paragraph 19, Defendant states that does not have knowledge of Apple Athletics’

     actions beyond the billing documents, and the billing documents speak for themselves.

     As to any additional or implied information in paragraph 19, Defendant DENIES any

     such information.

  20. As to paragraph 20, Defendant states that does not have knowledge of Apple Athletics’

     actions beyond the stated contract, and the contract speaks for itself. As to any additional

     or implied information in paragraph 20, Defendant DENIES any such information.

  21. As to paragraph 21, Defendant states that does not have knowledge of Apple Athletics’

     actions beyond the billing documents, and the billing documents speak for themselves.

     As to any additional or implied information in paragraph 21, Defendant DENIES any

     such information.




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  22. A to paragraph 22, Defendant Admits that it issued a written letter on November 5, 2019

     to Leland Faux concerning Jonathan Castillo and showing a then “Balance Due:

     $683.17.” Defendant DENIES the remainder of the information in paragraph 22.

  23. As to paragraph 23, Defendant states that no response is necessary as it is a reference to

     Idaho Code § 26-2221.

  24. As to paragraph 24, Defendant DENIES the information.

  25. As to paragraph 25, Defendant DENIES the information.

  26. As to paragraph 26, Defendant DENIES the information.

  27. As to paragraph 27, Defendant DENIES the information.

  28. As to paragraph 28, Defendant DENIES the information.

  29. As to paragraph 29, Defendant DENIES the information.

  30. As to paragraph 30, Defendant DENIES the information.

  31. As to paragraph 31, Defendant states that no response is necessary. In as much as a

     response may be required, Defendant states that any such request should not be granted.

  32. As to paragraph 32, Defendant DENIES the information.

  33. As to paragraph 33, Defendant realleges the relative responses to the prior paragraphs

     fully herein.

  34. As to paragraph 34, Defendant ADMITS the information.

  35. As to paragraph 35, Defendant ADMITS the information.

  36. As to paragraph 36, Defendant Denies the information and all subparts listed therein.

  37. As to paragraph 37, Defendant DENIES the information.

  38. As to paragraph 38, Defendant DENIES the information.

  39. As to paragraph 39, Defendant DENIES the information.




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  40. As to paragraph 40, Defendant realleges the relative responses to the prior paragraphs

     fully herein.

  41. As to paragraph 41, Defendant ADMITS the information.

  42. As to paragraph 42, Defendant DENIES the information and all subparts listed therein.

  43. As to paragraph 43, Defendant DENIES the information.

  44. As to paragraph 44, Defendant DENIES the information.

  45. As to paragraph 45, Defendant DENIES the information and that any such relief should

     be granted.

  46. As to paragraph 46, Defendant DENIES the information and that any such relief should

     be granted.

  47. As to paragraph 47, Defendant DENIES the information and that any such request should

     not be granted.

  48. As to paragraph 48, Defendant states that no response is necessary but DENIES any such

     interpretation of the statute.

  49. As to paragraph 49, Defendant DENIES the information.

  50. As to the Prayer for Relief, Defendant DENIES that any such relief is just or proper and

     asserts that Plaintiff should take nothing in this matter.

     Defendant thereby requests that this matter be dismissed and Defendant be awarded his

  attorney fees and costs pursuant to all applicable statutes and rules.

     Dated: June 26, 2020

                                                            ________________________
                                                            LARREN K. COVERT. ESQ.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 26, 2020, I served a true and correct copy of the

foregoing document on the following by the method of delivery indicated:

 Leland K. Faux                                     U.S. Mail, postage prepaid
 381 Shoup Ave, Ste. 214                            Designated courthouse box
 Idaho Falls, ID 83402                              Hand-delivered
                                                    Fax:
                                                    Email/EM/ECF: leland@lelandfaux.com




                                                  ________________________________
                                                  LARREN K. COVERT, ESQ.
                                                  Attorneys for Defendant




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